Form TRANSC

                                    UNITED STATES BANKRUPTCY COURT
                                      California Northern Bankruptcy Court

In re Debtor(s):                                                         Case No.: 19−30088 DM 11
                                                                         Chapter: 11
PG&E Corporation



                               NOTICE OF FILING OF TRANSCRIPT
                     AND DEADLINES RELATED TO RESTRICTION AND REDACTION




A transcript of the proceeding held on June 7, 2023 at 10:00 AM was filed on June 9, 2023. The following deadlines
apply:

The parties have until Friday, June 16, 2023 to file with the court a Notice of Intent to Request Redaction of this
transcript. The deadline for filing a request for redaction is Friday, June 30, 2023.

If a request for redaction is filed, the redacted transcript is due Monday, July 10, 2023.

If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is Thursday, September 7, 2023, unless extended by court order.

To review the transcript for redaction purposes, you may purchase a copy from the transcriber,

Jason Gottlieb
Attn: Jason Gottlieb, Dir. of Tran. Ops.
7227 N 16th St. #207
Phoenix, AZ 85020

or you may view the document at the clerk's office public terminal.




Dated: 6/12/23                                      For the Court:


                                                    Edward J. Emmons
                                                    Clerk of Court
                                                    United States Bankruptcy Court




     Case: 19-30088         Doc# 13830-1         Filed: 06/09/23       Entered: 06/09/23 05:26:17          Page 1
                                                         of 1
